                                    Case 19-12269-CSS                Doc 5        Filed 10/25/19           Page 1 of 3


      Fill in this information to identify the case:

                      MTE Holdings LLC
      Debtor name __________________________________________________________________
                                                                                  Delaware
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):
                                 19-12269 (KBO)
                                _________________________
                                                                              (State)
                                                                                                                                         
                                                                                                                                         X Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
       Vinson & Elkins LLP                                                                                                                             $500,000
1      666 Fifth Avenue                                                        Professional
       26th Floor                            T 212-237-0000                    Services
       New York, NY 10103

      Weaver and Tidwell, LLP               T 432-683-5226                                                                                              $105,000
2                                                                               Professional
      400 W. Illinois Ave.
      Suite 1550
                                                                                Services
      Midland, TX 79701

     Armstrong Backus & Co., LLP
3                                             T 432-685-3657                                                                                            $28,000
     200 North Loraine St.                                                     Professional
     Suite 900                                                                 Services
                                           mail@armstrongbackus.com
     P.O. Box 3487
     Midland, TX 79702
4                                             T (866) 636-0540                                                                                           $10,000
       Bank of New York Mellon
       240 Greenwich Street
       New York, NY 10289


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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
In re:                                                       )     Chapter 11
                                                             )
MTE HOLDINGS LLC,                                            )     Case No. 19-12269 (KBO)
                                                             )
                           Debtor. 1                         )
                                                             )
                                                             )

                              CORPORATE OWNERSHIP STATEMENT

         Following is the list of entities that directly or indirectly own 10% or more of any class of

MTE Holdings LLC’s (“MTE Holdings’”) equity interests. This list is prepared in accordance

with Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 in this chapter 11 case.


              Shareholder                                   Approximate Percentage of Shares Held
Olam Energy Resources I LLC                                50.0%
MTE Partners LLC                                           50.0%

                               LIST OF EQUITY SECURITY HOLDERS

         Following is a list of debtor MTE Holdings’ equity security holders. This list has been

prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case.


Shareholder                            Address of Equity Holder                Percentage of Equity Held
Olam Energy Resources I                280 East 96th Street                    50.0%
LLC                                    Suite 210,
                                       Indianapolis, Indiana 46240
MTE Partners LLC                       280 East 96th Street                    50.0%
                                       Suite 210,
                                       Indianapolis, Indiana 46240




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  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is: MTE Holdings LLC (7894). The Debtor’s address is 280 East 96th Street, Suite 210, Indianapolis, Indiana
46240.
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  Fill in this information to identify the case and this filing:


  Debtor Name MTE Holdings LLC
    United States Bankruptcy Court for the: __________ District of Delaware
  (State)
  Case number (If known): 19-12269 (KBO)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature



            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
            another individual serving as a representative of the debtor in this case.
            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


            D    Schedule AIB: Assets-Rea/ and Personal Property (Official Form 206A/B)

            D    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

            D    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

            D    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

            D    Schedule H: Codebtors (Official Form 206H)

            D    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

            D    Amended Schedule

              l:SJ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

            e3 Other document that requires a declaration Creditor Matrix, List of Equity Holders, Corporate Ownership Statement

            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on     it/zs/· 2o1 'j
                          MM/DbiYYYY                           X    "'211
                                                                      Mark A. Siffin
                                                                    Printed name

                                                                     Authorized Signatory
                                                                    Position or relationship to debtor


Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
